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                           IJM TED STA TES D ISTR ICT C OU RT
                                W estern D istrictofVirginia            CLERK'S OFFICE U.3.DISTJCOURT
                                                                            AT CHARLOU ESVILE,VA
                                          OffceoftheClerk                           FILED
                                  255 W .M ain Street,R oom 304
                                    Charlottesville,VA 22902                  FEB 2 1 2222
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                                          Februmy 19,2020                 BY:



Chllottesville Circuit'Court
315 EastHigh Street Suite B
          .
Charlottesville,V irgm
                     2 ia 22902

DearClerk,

        Enclosed please fm d certified copies of the Order Rem anding the below case to the
CharlottesvilleCircuitCourt.Alsoenclosedistieretllrnofyotlrcaserecord.
STYLE OF CASE:                                Quéen ofVirginiaSkiII& Entertainm enh LLC,et
alsv.Joseph D .Platania

U SD C/W DV A CA SE N UM BER :                3:19CV00065

YOUR CASENU> ERISI:                           6119000324-00
        Please acu o'
                    w ledge recéiptofthisrecord by signing and retnm ing tllis form to the U .S.
DistrictCourtClerk,s Office indicated above.                 '         '                .

       Thank you forallow ing ourcourtto utilize tllisrecord. lfthereisany problem in theretnrn
ofthisrecord,please feelfree to callm e at434-296-9284.

                                              Sincerely,

                                              JULIA C .DU DLEY ,Clerk

                                              By:slH .W heeler'
                                              D eputy Clerk
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RECEW ED BY :
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DATE:                                              g '
